Case 10-93904-BHL-11 Doc1117 Filed 03/29/12 EOD 03/29/12 11:58:29 Pg1of15

U.S. Trustee Basic Monthly Operating Report

Case Name: Eastern Livestock Co. LLC Date Filed: December 6, 2010
Case Number: 10-93904, Southern District of Indiana SIC Code: 5154
Month (or portion) covered by this report: February, 2012

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, | DECLARE UNDER
PENALTY OF PERJURY THAT | HAVE EXAMINED THIS U.S. TRUSTEE BASIC MONTHLY OPERATING
REPORT AND THE ACCOMPANYING ATTACHMENTS ON BEHALF OF THE CHAPTER 11 DEBTOR AND,
TO THE BEST OF MY KNOWLEDGE, THIS REPORT AND RELATED DOCUMENTS ARE TRUE,

ORRECT AND COMPLE

3/29} 2012

ATURE OF RESPONSIBLE PARTY DATE REPORT SIGNED

PRINTED NAME OF RESPONSIBLE PARTY AND POSITION WITH DEBTOR

The debtor is required to provide financial reports prepared by or for the debtor in addition to the
information required by this form. The U.S. Trustee may permit the debtor to eliminate duplicative
information. No such permission is valid unless in writing.

QUESTIONNAIRE: YES
1. IS THE BUSINESS STILL OPERATING?

2. DID YOU SELL ANY ASSETS OTHER THAN INVENTORY THIS MONTH?

3. HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?

4, DID YOU PAY ANYTHING TO YOUR ATTORNEY OR OTHER PROFESSIONALS THIS MONTH?
5. DID YOU PAY ALL YOUR BILLS ON TIME THIS MONTH?

6. DID YOU PAY YOUR EMPLOYEES ON TIME?

7. HAVE YOU FILED ALL OF YOUR RETURNS AND PAID ALL OF YOUR TAXES THIS MONTH?
8. DID YOU PAY ALL OF YOUR INSURANCE PREMIUMS THIS MONTH?

9. DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH?

10. HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH?

11. DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?

12. DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES THIS MONTH?

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Page 1 of 4
U.S. Trustee Basic Monthly Operating Report

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13. DID YOU DEPOSIT ALL MONEY FOR YOUR BUSINESS INTO THE DIP ACCOUNT THIS MONTH? v

14. DID THE BUSINESS SELL ANY GOODS OR PROVIDE SERVICES TO ANY BUSINESS RELATED TO
THE DIP IN ANY WAY?

ONs
Oz

15. DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH?

16. ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENT TO THE UST?

NO
OW

TAXES
DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX OBLIGATIONS?

U
NJ

IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL BE FILED,
OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR THE PAYMENT.

(Exhibit A)

INCOME

PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST SHOULD
INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. [If you use an automated accounting
system, please attach a copy of the Income Statement and Balance Sheet.]

TOTAL INCOME $0.00

(Exhibit B)

EXPENSES

PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK ACCOUNTS
PAID THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE PURPOSE AND THE
AMOUNT. [If you use an automated accounting system, please attach a copy of the Disbursements Joumal,
otherwise attach a copy of the check register. }

TOTAL EXPENSES $67,509

(Exhibit C)

CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B)

EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C)
(Subtract The Total from Exhibit C from the Total of Exhibit B)
CASH PROFIT FOR THE MONTH -$67,509

Page 2 of 4

U.S. Trustee Basic Monthly Operating Report

Case Name: Eastern Livestock Co., LLC Date Filed: December 6, 2010
Case Number: 10-93904, Southern District of Indiana__ SIC Code: 5154
Month (or portion) covered by this report: February, 2012
UNPAID BILLS

PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED SINCE THE
DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE THE DATE THE DEBT
WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE DEBT AND WHEN THE DEBT IS
DUE.

TOTAL PAYABLES $0

(Exhibit D)

MONEY OWED TO YOU

PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK YOU HAVE
DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO OWES YOU MONEY, HOW
MUCH IS OWED AND WHEN !S PAYMENT DUE.

TOTAL RECEIVABLES $31,885,641

(EXHIBIT E)

BANKING INFORMATION

PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU HAVE AS OF
THE DATE OF THIS FINANCIAL REPORT.

EMPLOYEES

NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED? 9

NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT? 4
PROFESSIONAL FEES

TOTAL PROFESSIONAL FEES APPROVED BY THE COURT DURING THIS REPORTING PERIOD? $0

TOTAL PROFESSIONAL FEES APPROVED BY THE COURT SINCE THE FILING OF THE CASE? $3,095 204

TOTAL PROFESSIONAL FEES INCURRED BY OR ON BEHALF OF THE DEBTOR DURING THIS

REPORTING PERIOD? $297,000

TOTAL PROFESSIONAL FEES INCURRED BY OR ON BEHALF OF THE DEBTOR SINCE THE FILING OF

THE CASE? $4,881,019

PROFESSIONAL FEES INCURRED BY OR ON BEHALF OF THE DEBTOR RELATED TO BANKRUPTCY

DURING THIS REPORTING PERIOD? 297 000

PROFESSIONAL FEES INCURRED BY OR ON BEHALF OF THE DEBTOR RELATED TO BANKRUPTCY
SINCE THE FILING OF THE CASE? $4 881,019

Page 3 of 4

U.S. Trustee Basic Monthly Operating Report

Case Name: Eastern Livestock Co., LLC Date Filed: December 6, 2010
Case Number: 10-93904, Southern District of Indiana _ SIC Code: 5154
Month (or portion) covered by this report: February, 2012
PROJECTIONS

COMPARE YOUR ACTUAL INCOME, EXPENSES AND THE CASH PROFIT TO THE PROJECTIONS FOR THE
FIRST 180-DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.

------- NOT APPLICABLE -------

PROJECTED INCOME FOR THE MONTH:

ACTUAL INCOME FOR THE MONTH (EXHIBIT B):

DIFFERENCE BETWEEN PROJECTED AND ACTUAL INCOME:

PROJECTED EXPENSES FOR THE MONTH:

TOTAL ACTUAL EXPENSES FOR THE MONTH (EXHIBIT C):

DIFFERENCE BETWEEN PROJECTED AND ACTUAL EXPENSES:

PROJECTED CASH PROFIT FOR THE MONTH:

ACTUAL CASH PROFIT FOR THE MONTH

(TOTAL FROM EXHIBIT B MINUS TOTAL FROM EXHIBIT C)

DIFFERENCE BETWEEN PROJECTED AND ACTUAL CASH PROFIT:

[If actual cash profit was 90% or less of projected cash profit, please attach a detailed
written explanation.]

Page 4 of 4
Case 10-93904-BHL-11 Doc1117 Filed 03/29/12 EOD 03/29/12 11:58:29 Pg5of15

Eastern Livestock Co., LLC

Bankruptcy Case #10-93904

February, 2012 Monthly Operating Report

For the Period February 1, 2012 - February 29, 2012
Exhibit B; Cash Receipts

Date Account Num Description Memo Category Amount

NONE
Eastern Livestock Co., LLC

Bankruptcy Case #10-93904

February, 2012 Monthly Operating Report

For the Period February 1, 2012 - February 29, 2012
Exhibit C; Cash Disbursements

Date Account Num Description
2/3/12 Checking Wire Trsf ADP
2/3/12 Checking Wire Trsf ADP
2/3/12 Checking Debit ADP
2/3/12 Checking Debit Chase Bank
2/3/12 Checking Debit Chase Bank
2/6/12 Checking 1514 Technology Assigned Risk
46/12 Checking (S15 Humana Insurance Co,
26/12 Checking 1516 KCL Group Benefits
26/12 Checking St?) AT&T
2/6/12 Checking 1518 Duke Energy
2/6/12 Checking 1519 Duke Energy
2/62 Checking 1520 Indiana American Water
2/6/12 Checking (S21 Industrial Disposal
2/6/12 Checking 1522 Mountain Valley
2/6/12 Checking 1523. New Albany Municipal Utilities
2/6/12 Checking ($24 New Albany Municipat Utilities
2/6/12 Checking 1525. New Albany Municipal Utilities
6/12 Checking 1826 Data Copy
Y6AZ Checking 1527 Data Copy
26/12 Checking 1528 Data Copy
Y6N2 Checking 1529 Data Copy
2/6/12 Checking 1530 Teena Morris
2/6/12 Checking (531 Republic Bank
26/12 Checking 1532 United States Department of Justice
46/2 Checking 1533 Floyd County Assessor
2/6/12 Checking 1534 Floyd County Assessor
2/6/12 Checking 1535 Floyd County Assessor
2/A7/A2 Checking Debit ADP
2/20/12 Checking 1538 United States Department of Justice
2/20/12 Checking 1539 United States Department of Justice

Y21/12 Checking
221/12 Checking
4/23/12 Checking
2/24/12 Checking

Wire Trsf ADP

Debit Chase Bank
Debit ADP
Debit ADP

Sub-Total; Disbursements - Checking

Escrow {none)

Sub-Total; Disbursements - Escrow

Segregated {none)

Sub-Total; Disbursements - Segregated

Total Cash Disbursemenis

Cash Flow - Positive/(Negative)

Memo

Workers’ Compensation Insurance
Health Insurance; February & March
Dental Insurance; February & March

Housekeeping - February
Office Rent - February

Okie Farms, LLC; Fourth Quarter, 2011
Okie Farms, LLC; First Quarter, 2012

Category Amount

Taxes (219.02)
Payroll Expense (9,620.14)
Office Expense (152.13)
Office Expense (25.00)
Office Expense (25.00)
Employee Benefits (581.00)
Employee Benefits (14,102.27)
Employee Benefits (505.08)
Utilities (1,606.20)
Utilities (471,25)
Utilities (13.19)
Utilities (23.44)
Utilities (221.44)
Office Expense (43.75)
Utilities (74.88)
Utilities (37.53)
Utilities (25.03)
Office Expense (99.50)
Office Expense (344.67)
Office Expense (26.50)
Office Expense (135.00)
Office Expense (550,00)
Office Rent (7,500.00)
U.S. Trustee Fees (4,875.00)
Real Property Taxes (6,711.97)
Real Property Taxes (182.26)
Rea! Property Taxes (30.58)
Office Expense (152.43)
U.S. Trustee Fees (375.00)
U.S. Trustee Fees (10,400.00)
Payroll Expense (8,121.70)
Office Expense (25.00)
Office Expense (176.78)
Office Expense (54.95)
(67,507.39)

(67,507.39)

(67,507.39)
Case 10-93904-BHL-11 Doc1117 Filed 03/29/12 EOD 03/29/12 11:58:29 Pg 7of15

Eastern Livestock Co., LLC

Bankruptcy Case #10-93904

Southern District of Indiana

Monthly Operating Report for February, 2012
February 1, 2012 — February 29, 2012
Comments/Disclaimer

The additional financial information other than cash activity recorded in this Monthly Operating Report
was prepared based upon the books and records of ELC that the Trustee and his representatives have been
able to locate. The Trustee cannot vouch for the completeness and/or accuracy of the ELC books and
records located to date. Therefore the additional financial information other than cash activity recorded in
this Monthly Operating Report may be inaccurate or incomplete and may suffer from material omissions.
In addition, nothing on this Monthly Operating Report is or is intended to be an admission of the Debtor’s
Estate or the Trustee and all data reported herein remains subject to further review, correction, or re-
statement.

In the continuing review of accounts receivable transactions, certain invoices have been reclassified
resulting in the increase of accounts receivable by $220K.
Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable Schedule
Month of February, 2012

Customer Balance
JT NUCKOLS 355,605.14
AGRI BEEF COMPANY 233,096.66
ALLEN BARRY 118,546.01
AMOS KROPF 1,860.00
ANDERSON CATTLE COMPANY 57,660.26
ANDY LOLLEY 36,086.27
ATKINSON LIVESTOCK MARK 2,577,880.13
BACA COUNTY FEED YARD 53,603.61
BEEF MARKETING GROUP CO 1,131,371.71
BEN DELWORTH 1,913.28
BIG DRIVE CATTLE LLC 99,762.76
BILL CHASE 293,066.18
BILL EBERLE 273,202.20
BLUE GRASS SOUTH (JIM AKERS) 4,036.61
BLUEGRASS STOCKYARDS EA 7,542.29
BOB FOOTE 1,671,097.35
BRANDON JONES 73,615.61
BRANDON MAGGARD 21,440.00
BUD HEINE 170,066.15
BUFFALO FEEDERS 7,255.20
C&M CATTLE 490,661.93
CACTUS FEEDERS, INC. 2,976,868.99
CHAD BAKER 56,200.21
CHAD HOUCK (FLYING M RANCH) 23,526.08
CHARLES W. ANDERSON 249,406.74
CLAY J. CARTER 69,902.45
CLIFFORD OLDHAM 32,469.93
COLTON DOWNEY 470.93
COREY KAY 133,574.64
DAVID HILBERT 123,465.04
DAVID PETERSON 62,408.10
DEMAIO FARM & RANCH 244,179.86
DENNIS JONES 617.40
DIAMOND CATTLE FEEDERS 8,442.17
DS FARMS 8,359.85
DUDLEY WALDROP 6,666.87

Page 1 of 4
Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable Schedule
Month of February, 2012

Customer Balance
E 4 CATTLE CO 156,693.80
ED EDENS FARMS 12,513.28
ED EDENS IV 140,111.29
ED EDENS UNAPPLIED CASH (120,529.72)
FAITH CATTLE CO. (CHAD HOUCK) 123,480.40
FIVE RIVERS 207.90
FIVE RIVERS (CIMARRON FEEDERS, INC.) 318,756.28
FIVE RIVERS (GILCREST) 520,888.26
FIVE RIVERS (KUNER) 514,231.01
FIVE RIVERS (MALTA) 259,931.48
FIVE RIVERS (XIT FEEDERS) 265,621.61
FIVE RIVERS (YUMA) 2,490,120.25
FRANCIS J. MADISON 66,215.72
FRED SMITH 110,457.25
FRIONA INDUSTRIES, L.P. 2,554,262.27
FRONTERA FEEDYARD 147,210.58
GANADO, INC 227,965.86
GARY CARTER 68,696.25
GARY LAIB 104,916.54
GARY SEALS 363,018.59
GIBSON FARMS, L.L.C. 47,166.30
GLOVER FARMS 228,922.24
HHH CATTLE CO 22,126.43
HERITAGE FEEDERS 626,744.55
HIGH PLAINS FEEDLOT 10,307.92
HOHENBERGER CATTLE 568,972.80
J & S FEEDLOTS INC. 59,612.79
J BAR H CATTLE 52,934.97
JACOB LARSON 14,547.62
JAMES ED EDENS & LEE ED 108,167.17
JAMES PERSCHBACHER 392,551.15
JANOUSEK FARMS 9,675.00
JEFFREY MADISON 50,595.58
JEREMY COFFEY 6,531.01
JERRY SHELTON 135,908.38
JERRY THOMPSON 333,431.86

Page 2 of 4
Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable Schedule
Month of February, 2012

Customer Balance
JIM ROY WELLS CATTLE 1,513.05
JIM WOODS 47,844.00
JOE SCHMUCKER 15,535.04
JOE THOMPSON 56,422.13
JOHN ROSS 108,130.73
JVCO, LLC 181,881.51
KELLY HOSTETLER 1,950.12
KENNY OGDEN 524,001.44
KEVIN SMITH 155,034.20
LEROY SAYLOR 135,926.96
LHL PARTNERSHIP 133,885.30
M.Y.C. 220,715.13
MARK FREEMAN 93,490.54
MARK FREEMAN IV 9,006.20
MATTHEW CATES 23,036.50
MIKE MASSEY 935,652.36
MORRIS STOCK FARM 4,498.85
MULL FARMS & FEEDING 109,096.24
NU TECHNOLOGIES 419,139.19
OAKLAKE CATTLE COMPANY 132,101.50
PACO FEED YARDS INC. 7,371.00
PENNER CATTLE 60,402.11
PESETSKY LAND & CATTLE 166,933.79
R M LIVESTOCK 30,869.39
RALPH HOODENPYLE 4,555.61
RICK BEARD 106,491.97
RITTER FEEDYARD 29,228.32
ROBERT NICHOLS 1,638,574.20
RON SHEPHARD 219,100.88
RONALD STAHL 99,360.96
ROYAL BEEF 552,819.82
RUSH CREEK RANCH 178,233.29
RUSTY RAT CATTLE CO. 15,710.11
S&S CATTLE /ROYCE STALLCUP(CHAD HOUCK) 18,789.29
SAM FOUSEK 117,029.77
SCOTT GIBSON (11,386.87)

Page 3 of 4
Eastern Livestock Co., LLC
Bankruptcy Case #10-93904
Southern District of Indiana
Accounts Receivable Schedule
Month of February, 2012

Customer Balance
SCOTT WEEKS 25,119.61
SEALY AND SON 3,353.16
STEPHEN DILKS 118,761.83
STEVE FLETCHER 228,163.67
STIERWALT RANCH 294,277.66
SUPREME CATTLE FEEDERS 1,095,579.42
TERRY BABER 66,214.88
TIM COOK 740.00
TODD ROSENBAUM 207,216.14
TOM HERRMANN 23,027.01
TRAVIS DICKE 293,217.37
TRIANGLE CALF GROWERS (KIRKLAND FEEDERS}(ED EDENS) 17,828.07
WILLIAM BUSH 189,826.00
WILLIAMS FARM 39,582.81
WILLIE DOWNS LIVESTOCK INC 6,427.80
WINTER LIVESTOCK 64,467.23
Total Accounts Receivable as of February 29, 2012 31,885,640.57

Note: These balances have been restated to exclude unsupported transactions and
invoices for which customer remittances were diverted by the debtor's employees.

Note 2: These balances are based on the debtor's books and records; balances

are subject to change as accounts are researched.

Note 3: There is uncertainty as to the collectability of the receivables and as to

whether the debtor is entitled to the proceeds.

Page 4 of 4
Case 10-93904-BHL-11 Doc1117 Filed 03/29/12 EOD 03/29/12 11:58:29 Pg12 of 15

PMorgan Chase Bank, N.A. _ } i
Kentucky Market

P O Box 659754 For the Period 2/1/12 to 2/29/12
San Antonio, TX 78265-9754

JaleslsDvvslelMfacsabslalatassslfMssallosustalalalaatslal J.P. Morgan Teart

00000600 DPB 034 18106112 NNNNNNNNNNN T 1 0COCcOG0O 53 ecoe Mary A Durkott (317) 684-3140
eres winner TRUSTER For aenistaincn alter business hours, 7 days a week. (800) 243-6727
CASE #10-93904-BHL-11 Hearing Impaired (800) 242-7383
111 MONUMENT CIR STE 900 Online access: www.jpmorganonline.com

INDIANAPOLIS IN 46204-5106

° s %
Chase BusinessClassic Cotucxrnc )
Checking Account Summary Instances Amount
Beginning Balance cette eee . oF y285,453.49
Checks Paid vests vests A, (48,316.68)
Payments & Transfers” a 7 (18,496.85)
Fees, Charges & Other Withdrawals 3 (75.00)
Ending Balance 29 $7,218,564.96

0615215016001 008000)

J.P Morgan Page 1 of
Case 10-93904-BHL-11 Doc1117 Filed 03/29/12 EOD 03/29/12 11:58:29 Pg 13o0f15

Primary Account:
EASTERN LIVESTOCK CO LLC For the Period 2/1/12 to 2/29/12
JAMES A KNAUER TRUSTEE

Checks Paid

Check Date Check Date Check Date
Number Paid Amount Number Paid Amount Number Paid Amount

BS OSB AB ON 75 18820 OR 4,875.00
IBIS OO nsnmnlG 10227 1823 ong 7488158 OGG TIT.OF
ING ON S83 1584 ORG
Taiz O28 nnnmnnlt608-20 182500 ag 280385 BO
A518 garg AT 2B1S880 arg 880.00 15838 ogg 875.00
152 OB nnn eet MBBL ORI 7,600.00 1839 ava 10,400.00
EE ent mena . .

Total Checks Paid ($48,316.68)

You can view images of the checks above at MorganOnline.com. To Enroll in Morgan Online, please contact your J.P. Morgan Team.

Payments & Transfers

Date Description Amount

02/03 02/03 Online Wire Transfer Via: Deutsche Bank Tr Company Ameri/0103 A/C: ADP San Dimas CA 91773 US Ref: Rbi Adpbr18 Gx2 219.02
Eastern Livestock/Bnf/Fbo ADP Inc. Ssn: 0315435 Trn: 1065000034Es

02/03 02/03 Online Wire Transfer Via: Deutsche Bank Tr Company ‘Ameri/0103 A/C: ADP San Dimas CA 91773 US Ref: Rbi ‘Adpbr18 Gx2””~”~S~*~é«S BOLT
ee Eastern Livestock/Bnt/Fbo ADP Inc. Ssn: 0315801 Trn: 1071500034Es _

see ABP Payrall Foes ADP. eee toa “@607047 6b 1B BESSOSOD Ter

BAT ADP Bayro hear ADE “Fees toa "7896600 665 ib: ‘3688608007 severe wsnsnensves RE EA RED gt

02/21 02/21 Online Wire Transfer Via: Deutsche Bank Tr Company ‘Ameri/0103 A/C: ADP San Dimas CA 91773 US Ref: Rbi ‘Adpbr18 Q@x20”t~<“Ct:~tststs™C«S FL
Eastern Livestock/Bnf/Fbo ADP Inc. Ssn: 0291970 Tr: 0641300052Es

6/33" ADP Payroll Foes aDB Foes ioee “7661694 GOB ib: ‘9688605001 ns tact vswin SSA ntanPs Aah Sn STEN AESONNG BOREAS GCA bas TSANOS ais ss TSBUEESaCCOgSUSU EUR GIGMgSSCRLDBANURTNGHG T76. mee

GSAT ADE Payroll Coen ADP + fees 10Gc277ERSG9 GED We SORSRSRDR a mer
Total Payments & Transfers ($18,496.85)

J.PMorgan Page 2of 6
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Case 10-93904-BHL-11 Doc 1117

EASTERN LIVESTOCK CO LLC
JAMES A KNAUER TRUSTEE

Fees, Charges & Other Withdrawals

Filed 03/29/12 EOD 03/29/12 11:58:29 Pg 14 of 15

Primary Account:
For the Period 2/1/12 to 2/29/12

Date Description Amount
02/03 Wire Online Domestic Fee 25.00
02/03 Wire Online Domestic Fee 25.00
02/21 Wire Online Domestic Fee 25.00
Total Fees, Charges & Other Withdrawals ($75.00)
‘our monthly service fee was waived ecatie you maintained an average checking balance of $3,000 ar mere during the sattement period.

Daily Ending Balance
Date Amount Date Amount Date Amount
02/03 7.275,412.20 02/15 7.245,300.41 02/23 7,229.394.91
02/10 7,261.309.93 02/16 7.238.375.60 02/24 7,229.339.96
02/13 7.258,925.04 02/17 7,238,223.47 02/28 7.218,564.96
02/14 7,253,350.41 02/21 7.229,571.69
Service Fee Summary
Transactions For Number
Service Fee Calculation of Transactions
Checks Paid / Debits 26
Deposits /Credis = 0
Deposited Items 0
Transaction Total 26
Service Fee Calculation Amount
Service Fee 12.00
Service Fee Credit (12.00)
Net Service Fee $0.00

0.00

Excessive Transaction Fees (Above 0)

J.P Morgan

Page 3 of 6

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Case 10-93904-BHL-11 Doc1117 Filed 03/29/12 EOD 03/29/12 11:58:29 Pg 15 o0f15

Kentucky Market
PO Box 659754
San Antonio. TX 78265-9754

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90000458 OPS 034 16106112 NNNNNNNNNNN T 1 Ococcocod 63 COCO
EASTERN LIVESTOCK CO LLC

JAMES A KNAUER TRUSTEE

111 MONUMENT CIR STE 900

INDIANAPOLIS IN 46204-5106

Primary Account:

For the Period 2/4/12 to 2/29/12

J.P. Morgan Team

Chase BusinessClassic CEiscicow)

Checking Account Summary instances Amount
Beginning Balance 4,853,031.49
Ending Balance 0 $4,853,031.49

There has been no activity on your account during this statement period. You may not receive wt statement through the mail in the future if there is no activity
account activity and statement by logging on to your accownt through chase.com. If you have questions, please call us at the member on this statement,

Mary A Durkott

For assistance after business hours, 7 days a week.
Hearing Impaired

Online access: www.jpmorganonline.com

Your monthly service fee was waived becatse you maintained an average checki ng balance of $5,000 or more during the sratement period.

Please note this account had no activity during this statement period. The date of last activity for this account was 01/04/12.
Oy ig :

J.P Morgan

(317) 684-3140

(800) 243-6727
(800) 242-7383

on your account. Yor can always view your

Page 1 of 4

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